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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF PENNSYLVANIA
                             PITTSBURGH DIVISION


WENDELL H. STONE COMPANY, INC.
d/b/a STONE & COMPANY, individually and
on behalf of all others similarly situated,
                                                     Case No. 2:18-cv-01135-AJS
                        Plaintiff,

v.

PC SHIELD INC., an Oklahoma corporation,

                        Defendant.

     PLAINTIFF’S MOTION TO DEEM REQUESTS FOR ADMISSION ADMITTED

       Plaintiff Wendell H. Stone Company, Inc. d/b/a Stone & Company (“Plaintiff” or

“Stone”) pursuant to F.R.C.P. 36(a) hereby respectfully moves this Court for an order deeming

Plaintiff’s First Set of Requests for Admission to Defendant admitted. In support of the instant

motion, Plaintiff states as follows:

       1.      On August 27, 2018, Plaintiff bought this class action lawsuit alleging wide-scale

violations of the Telephone Consumer Protection Act, as amended by the Junk Fax Prevention

Act of 2005, 47 U.S.C. § 227, et seq. (“JFPA” or Act”)—specifically, challenging Defendant PC

Shield, Inc.’s (“Defendant” or “PC Shield”) practice of sending unsolicited fax advertisements.

       2.      On October 30, 2018, the Clerk of Court, pursuant to Rule 55(a), entered default

against Defendant. (See Dkt. 8.)

       3.      On November 2, 2018, Plaintiff filed its Motion for Default Judgment, Motion for

Class Certification, and Motion for Leave to Conduct Limited Discovery (“Motion”). (Dkt. 11.)




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       4.         On November 19, 2018, the Court granted Plaintiff’s Motion to conduct limited

discovery related to class certification, including serving written discovery on Defendant. (See

Dkt. 13, ¶ 13.)

       5.         Plaintiff drafted and prepared to serve Plaintiff’s First Set of Requests for

Admission to Defendant, which contained twenty-five (25) requests for admission (“Requests for

Admission,” a true and accurate copy of which is attached hereto as Ex. A), in addition to other

discovery requests.

       6.         On January 4, 2019, via process server, Plaintiff served its Requests for

Admission on Defendant. (See Proof of Service, a true and accurate copy of which is attached

hereto as Ex. B.) Therefore, Defendant’s responses to Plaintiff’s Requests for Admission were

due on February 4, 2019.

       7.         To date, Defendant has not served any responses to Plaintiff’s Requests for

Admission.

       8.         Fed. R. Civ. P. 36(a) states, in relevant part, “The requesting party may move to

determine the sufficiency of an answer or objection. Unless the court finds an objection justified,

it must order that an answer be served. On finding that an answer does not comply with this rule,

the court may order either that the matter is admitted or that an amended answer be served.”

       9.         Courts in the Third Circuit, including this Court, repeatedly hold that the failure to

timely respond to requests for admission is sufficient reason for ruling that the requests are

conclusively admitted. See Kelvin Cryosystems, Inc. v. Lightnin, 252 Fed.Appx. 469, 472 (3d

Cir. 2007) (“Kelvin and Arencibia never responded to those requests for admissions. Thus, the

second set of deemed admissions would support judgment against Kelvin and Arencibia even in

the absence of the deemed admissions stemming from the first request for admissions.”); see also




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Wylie v. TransUnion, LLC, Case No. 3:16-cv-102, 2017 WL 4357981, at *2 (W.D. Pa. Sept. 29,

2017) (“Rule 36 sets forth the procedures for serving and responding to requests for admissions. .

. . Failure to timely respond to such requests for admission within 30 days of service results in

the automatic admission of the matters requested.); see also Pritchard v. Dow Agro Sciences,

225 F.R.D. 164, 172 (W.D. Pa. 2009) (“Failure to timely respond to such requests for admissions

results in an automatic admission of the matters requested.”); see also Wilson v. Children’s

Museum of Pittsburgh, No. 05cv1748, 2006 WL 2529595, at *3 (W.D. Aug. 31, 2006) (“Plaintiff

denies these facts, however, because plaintiff failed to respond to defendant's request for

admission, pursuant to Fed.R.Civ.P. 36, said requests are thereby deemed admitted.”).

       10.     Here, Defendant was properly served with the Requests for Admission on January

4, 2019. Defendant has not timely responded, and has made no attempt to reach out to Plaintiff’s

counsel. Thus, the Requests for Admission should be deemed admitted, and the facts should be

conclusively established.

       11.     Further, given Defendant’s pattern of refusing to respond or engage in this

litigation in any regard, no cause exists to excuse the failure to respond.

       WHEREFORE, Plaintiff respectfully requests that the Court enter an Order granting

Plaintiff’s Motion to Deem Requests for Admission Admitted, and for such additional relief as

the Court deems necessary and just.



                                                      Respectfully,

Dated: March 14, 2019                                 STONE & COMPANY, INC., individually,
                                                      and on behalf of all others similarly situated,

                                                      /s/ Patrick H. Peluso
                                                      One of Plaintiff’s Attorneys




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                                                    Counsel for Plaintiff and the Putative Class

                                                    *pro hac vice admission




                                   CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and accurate copy of the above titled

document was served upon counsel of record by filing such papers via the Court’s ECF system

on March 14, 2019.

                                                    /s/ Patrick H. Peluso




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